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Attorneys for Plaintiffs

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA

SOUTHEAST ALASKA CONSERVATION COUNCIL,                       )
SKAGWAY MARINE ACCESS COMMISSION, LYNN                       )
CANAL CONSERVATION, INC., ALASKA PUBLIC                      )
INTEREST RESEARCH GROUP, SIERRA CLUB, and                    )
NATURAL RESOURCES DEFENSE COUNCIL,                           )
                                                             )
             Plaintiffs,                                     )
             v.                                              )
                                                             ) Case No. 1:06-cv-00009-JWS
FEDERAL HIGHWAY ADMINISTRATION; UNITED                       )
STATES DEPARTMENT OF TRANSPORTATION;                         )
MARIA CINO, in her official capacity as Acting Secretary     )
of Transportation; DAVID C. MILLER, in his official          )
capacity as Division Administrator for the Federal Highway   )
Administration; UNITED STATES FOREST SERVICE;                )
UNITED STATES DEPARTMENT OF AGRICULTURE;                     )
MARK REY, in his official capacity as Under Secretary of     )
Agriculture; and DENNIS E. BSCHOR, in his official           )
capacity as Alaska Regional Forester,                        )
             Defendants,                                     )
                                                             )
             and                                             )
                                                             )
STATE OF ALASKA,
                                                             )
             Intervenor-Defendant.                           )
                                                             )

                               DECLARATION OF COUNSEL




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I, Michael C. LeVine, hereby declare:

1. I am one of the attorneys representing the plaintiffs in this case. I submit this declaration in

   support of Plaintiffs’ Motion to Augment and Compel Completion of the Administrative

   Record.

2. Since the federal defendants submitted the designated administrative record in this litigation,

   I have attempted to work with opposing counsel to reach agreement about augmenting the

   record. I reviewed a significant number of documents and indices of documents to determine

   whether potentially relevant documents were not included in the record designated by the

   federal defendants. I identified particular documents and requested that the federal

   defendants agree to add those documents to the record. With the exception of three

   documents, the federal defendants declined in all cases to augment the record.

3. On June 8, 2006, the Southeast Alaska Conservation Council, one of the plaintiffs in this

   litigation, submitted a Freedom of Information Act request to the Forest Service seeking

   documents related to the agency’s participation in the Juneau Access project and its decision

   to approve the grant of a right-of-way for the project. See Exhibit 1.

4. The Forest Service responded on July 18, 2006. See Exhibit 2. The index to the Forest

   Service’s response is attached as Exhibit 3. Some of those documents are relevant to

   brushing or other activities in the right-of-way and not relevant to the issues in this litigation.

5. Together with Katharine Glover, another attorney working on this case, I reviewed the index

   provided by the Forest Service and the documents that were provided. We determined that

   the index includes documents that appear to have been considered by the Forest Service in

   making decisions relevant to the Juneau Access project but are not included in the




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   administrative record for this case. I highlighted those documents on a copy of the index.

   See Exhibit 3.

6. Of those highlighted documents, some were provided by the Forest Service pursuant to the

   FOIA request. The remainder were withheld pursuant to the exemption under FOIA for

   deliberative or predecisional documents or for other reasons. Four of the documents

   provided pursuant to the FOIA request are attached to this declaration as Exhibits 4-7.

7. I also circled documents that were the highest priority for Plaintiffs to have added to the

   record. I made the decision about which were the highest priority based on the contents of

   documents that were provided and based on the descriptions of documents that were

   withheld. I identified this subset in an effort to simplify the request to augment the record

   and, thereby, potentially avoid a contested motion to augment the record.

8. On February 9, 2007, I e-mailed a copy of that index to counsel for federal defendants and

   requested that the identified documents be added to the administrative record.

9. On March 7, 2007, counsel for the federal defendants responded to that request by sending

   me the e-mail attached as Exhibit 8. Federal defendants agreed to add two of the requested

   documents, but refused to add any of the others. The documents that the federal defendants

   agreed to add are Exhibits 5 and 7.

10. Pursuant to a request I made, the Alaska Department of Transportation and Public Facilities

   (Alaska DOT) agreed to make its “Special Project files” available to Plaintiffs’ counsel for

   review. In e-mail correspondence, counsel for the State of Alaska represented that “[t]he

   Special Project files relate to those documents involving work on the Juneau-Access

   improvements environmental impact statement.” According to the e-mail, Alaska DOT did

   not make available, generally, documents already in the administrative record produced by




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   the federal defendants in this litigation and documents related to “construction, contracting,

   pre-design, or geo-technical issues.” The complete text of the e-mail I received from the

   State’s counsel is Exhibit 9 to this declaration.

11. Katharine Glover and I reviewed the documents made available by Alaska DOT. This

   review took place at the Alaska DOT building on February 12 and 13, 2007. Ms. Glover and

   I reviewed two large boxes and several file folders containing documents identified by

   Alaska DOT as part of the Special Project files. I estimate that we reviewed several thousand

   pages of documents. These documents included e-mail correspondence, memoranda, and

   other documents related to the Juneau Access Project.

12. Based on that review, we identified a series of documents as the most important to the claims

   Plaintiffs have brought in this litigation. Alaska DOT personnel photocopied those

   documents, which totaled several hundred pages, for us.

13. From those documents, I identified 17 as the highest priority for Plaintiffs to have added to

   the agency record designed by the federal defendants. One of those documents was already

   in the designated administrative record. Fifteen of the others are attached to this declaration

   as Exhibits 10-24.

14. On February 23, 2007, I sent copies of those documents along with a cover letter to counsel

   for the federal defendants and requested that the documents be added to the record designated

   by the federal defendants. See Exhibit 25.

15. Pursuant to my review of those 17 documents, I found a reference to a report compiled by a

   consultant named Milton Barker. On February 20, 2007, I wrote to Alaska DOT counsel to

   request that report.




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16. I also discovered that one of the 17 documents was missing two pages. On February 23,

   2007, I wrote to Alaska DOT counsel to request those pages.

17. On February 26, 2007, counsel for Alaska DOT e-mailed me electronic versions of the

   consultant’s report and the two missing pages. See Exhibit 26. The consultant’s report is

   Exhibit 27 to this declaration, and the two pages are included as part of Exhibit 19.

18. I forwarded the missing pages and the additional document to counsel for federal defendants

   and requested that they be considered with the February 23 request to augment the agency

   record.

19. As of March 13, 2007, federal defendants had not responded to my request. In response to an

   e-mail inquiry I sent, counsel for federal defendants wrote that one of the documents was

   already in the record and that the others “were not relied upon by FHWA. Thus they are

   pro[p]erly not in the record.” The text of this e-mail exchange is attached as Exhibit 28.

20. During my review of the record designated by the federal defendants in this case, I identified

   several reports, studies, and guidelines that were referenced in documents in the

   administrative record, but which were not themselves in the designated record. These

   documents, and their corresponding references in the designated administrative record are:

             •   Socioeconomic Impacts of Juneau Access Improvements Alternatives, McDowell
                 Group 1990. Referenced at AR 00055, 000361, and 000787.
             •   Scoping Report, Alaska Department of Transportation and Public Facilities 1990.
                 Referenced at AR 000205.
             •   Juneau-Haines Route Location Investigation, Study Update, R&M Consultants
                 1981. Referenced at AR 000361
             •   Evaluation of Corridor Alternatives, Juneau Access, Acres International 1986.
                 Referenced at AR 000361
             •   Juneau Road Access Improvements, JEDC 1989. Referenced at AR 000361.
             •   Alaska Marine Highway System Marketing and Pricing Study, September 2000.
                 Prepared for Alaska Marine Highway System by McDowell Group. First page
                 included as attachment to comments submitted by Lynn Canal Conservation at
                 AR 24743.



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           •   Cooperative Road Agreement, U.S. Forest Service and Alaska Department of
               Transportation and Public Facilities, June 15, 2005. Referenced at AR 030092.

21. I obtained copies of the last two documents on the list. I had a photocopy made of the first

   and third volumes of the Alaska Marine Highway System Marketing and Pricing Study from

   the Alaska State Historical Library. See Exhibits 29 and 30. The second volume includes

   largely survey results and other numerical tables on which the conclusions in the report are

   based. Katharine Glover obtained a copy of the Cooperative Road Agreement and provided

   it to me. See Exhibit 31.

22. On May 10 and June 21, 2006, the Southeast Alaska Conservation Council, together with

   other groups submitted FOIA requests to FHWA seeking documents “generated kept and/or

   considered by FHWA” in “furnishing guidance, participating in the preparation, and

   independently evaluating” the Supplemental Draft and Final Environmental Impact

   Statements for the Juneau Access project. See Exhibits 32 and 33.

23. On June 23, 2006, FHWA indicated that it would not be able to meet the statutorily required

   deadline to respond to provide the requested documents. FHWA, however, did provide the

   requestors with a preliminary index of responsive documents. See Exhibits 34 and 35. The

   requestors identified several priority documents from that list, and FHWA provided them.

   FHWA has never provided the complete set of documents responsive to the FOIA request.

24. I reviewed the preliminary index and identified documents that did not appear to be included

   in the administrative record designated by the federal defendants in this case. From that list

   of documents, I identified approximately 50 that appeared most obviously significant for

   Plaintiffs’ claims in this case. I identified those documents based on the descriptions in the

   preliminary index because I had copies of only two of those documents. The documents I

   identified as most obviously significant are circled on the attached index. See Exhibit 35.



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                                TABLE OF EXHIBITS
                           TO DECLARATION OF COUNSEL

Decl. Ex. No.   Description

      1         Southeast Alaska Conservation Council, et al., Freedom of Information Act
                Request to US Forest Service re: Forest Service’s Review of the Juneau Access
                Improvements Project (June 8, 2006)

      2         US Forest Service, Response to Southeast Alaska Conservation Council, et al.,
                Freedom of Information Act Request (July 18, 2006)

      3         US Forest Service, Index to Response to Southeast Alaska Conservation
                Council, et al., Freedom of Information Act Request

      4         Ken Vaughan (US Forest Service) E-mail to Eric Ouderkirk (US Forest
                Service) re: Juneau Access (December 19, 2003)

      5         Southeast Alaska Conservation Council, et al., Notices of Intent to Sue the
                US Forest Service, US Army Corps of Engineers, and the Federal Highway
                Administration under the Endangered Species Act and the Administrative
                Procedure Act (May 10, 2006)

      6         Ken Vaughan (US Forest Service) Memorandum to Peter Griffin (US Forest
                Service), et al., re: Briefing from Reuben Yost concerning Juneau Access
                Project Status and Schedule (August 26, 2005)

      7         Rob Murphy (Alaska DOT) Letter to Dave Miller (FHWA) re: Juneau Access
                Project 71100, NCPMGS-STP-00S(131), Parcel E-2 (April 18, 2006)

      8         Dean Dunsmore (USDOJ) E-mail to Michael LeVine (Earthjustice) re: the
                Juneau Access Case (March 7, 2007)

      9         Peter Putzier (State of Alaska) E-mail to Michael LeVine (Earthjustice) re: J.A.
                * Scheduling and Document Production (February 9, 2007)

     10         Ira Rosen (Alaska DOT) Draft Memorandum to Distribution re: Juneau Access
                EIS Purpose and Need (November 30, 1993)

     11         Roger Allington E-mail to Patrick Kemp (Alaska DOT) re: Juneau Access
                (March 2, 1994)

     12         Patrick Kemp (Alaska DOT) Memorandum to Greg Dronkert re: Project No.
                71100, Juneau-Access EIS (May 11, 1994)



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     13         Alaska Department of Transportation and Public Facilities, draft Chapter 1
                (Purpose and Need for Action) of the Draft EIS, with hand-written edits (June
                2, 1994)

     14         Mary Ashmore (Alaska DOT) Memorandum to Gary Hayden (Alaska DOT) re:
                Juneau Access-Marine Alternative (January 25, 1995)

     15         Tony Leonard (H.W. Lochner, Inc.) Memorandum to Bill Ballard (Alaska
                DOT) re: Juneau Access Improvements (EIS), Comments to March 21, 1995
                Letter (April 10, 1995)

     16         Andy Hughes (Alaska DOT) Memorandum to Patrick Kemp (Alaska DOT) re:
                Barker Review, Comments, Economic Analysis (September 28, 1995)

     17         Tony Leonard (FPE/Roen-Lochner Joint Venture) Memorandum to Bill Ballard
                (Alaska DOT) re: Juneau Access Improvements (EIS), Coordination Meeting of
                September 28, 1995 (September 28, 1995)

     18         Tony Leonard (H.W. Lochner, Inc.) Letter to Bill Ballard (Alaska DOT) re:
                Juneau Access Improvements (EIS) (October 10, 1995)

     19         Tony Leonard (H.W. Lochner, Inc.) Letter to Bill Ballard (Alaska DOT) re:
                Juneau Access Improvements (EIS) (October 11, 1995)

     20         Art Dunn (Dunn Environmental) and Rick Reed (FPE/Roen Engineers)
                Memorandum to Bill Ballard (Alaska DOT) re: Steller Sea Lion Critical Habitat
                Alignment (December 21, 1995)

     21         Charles Hakari (Alaska DOT) Memorandum to Bill Ballard (Alaska DOT) re:
                Project No. 71100, JNU Access Sea Lion Haulout Alignment (March 26, 1996)

     22         Reuben Yost (Alaska DOT) Draft Memorandum to Tim Haugh (FHWA) re:
                Range of Alternatives (February 6, 2003)

     23         Rowan Gould (USFWS) Letter to Bill Ballard (Alaska DOT) re: Timing
                Guidelines for Migratory Bird Nesting (April 7, 2005)

     24         Reuben Yost (Alaska DOT) Memorandum to Draft File re: Juneau Access Draft
                Mitigation Plan (October 17, 2005)

     25         Michael LeVine (Earthjustice) Letter to Dean Dunsmore (USDOJ) re: additions
                to the agency record (February 23, 2007)

     26         Peter Putzier (State of Alaska) E-mail to Michael LeVine (Earthjustice) re:
                Juneau Access Documents (February 26, 2007)


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     27         Milton Barker Letter to Tony Leonard (H.W. Lochner, Inc.) re: Review of
                Juneau Access Improvements Traffic Projection Analysis and User Benefits
                Analysis (September 20, 1995)

     28         Dean Dunsmore (USDOJ) E-mail to Michael LeVine (Earthjustice) re: Juneau
                Access Record (March 13, 2007)

     29         McDowell Group, Alaska Marine Highway System Marketing and Pricing
                Study, Volume 1 (September 2000)

     30         McDowell Group, Alaska Marine Highway System Marketing and Pricing
                Study, Volume 3 (September 2000)

     31         US Forest Service, Alaska Region, and State of Alaska DOT&PF, Cooperative
                Forest Road Agreement (June 2005)

     32         Southeast Alaska Conservation Council, et al., Freedom of Information Act
                Request to Federal Highway Administration re: Supplemental and Final EISs
                and the ROD (May 10, 2006)

     33         Southeast Alaska Conservation Council, et al., Freedom of Information Act
                Request to Federal Highway Administration re: post-ROD documents (June 21,
                2006)

     34         Karen Schmidt (FHWA), Response to Freedom of Information Act Request
                (June 23, 2006)

     35         Federal Highway Administration, Index to Response to Freedom of Information
                Act Request

     36         Michael LeVine (Earthjustice) Letter to Dean Dunsmore (USDOJ) re:
                documents missing from the agency record (February 16, 2007)

     37         Dean Dunsmore (USDOJ), Documents Identified by Earthjustice




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